

People v Rice (2020 NY Slip Op 06869)





People v Rice


2020 NY Slip Op 06869


Decided on November 19, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 19, 2020

Before: Gische, J.P., Mazzarelli, Moulton, Mendez, JJ. 


Ind No. 188/16 Appeal No. 12418 Case No. 2018-2444 

[*1]The People of the State of New York, Respondent, 
vChristopher Rice, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Allen Fallek of counsel), for appellant
Darcel D. Clark, District Attorney, Bronx (John T. Komondorea of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ralph A. Fabrizio, J.), rendered November 29, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 19, 2020
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








